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          440                                LAWS OF NEW YORK.                         [CHAP. 27.


                                                 CHAP. 26.
                               AN ACT for the relief of John L. Hardenbergh.
                                                                 PASSED tile 30th of March, 1782.
          Preamble.     WHEREAS the certificates given by the auditors appointed to liquidate
                      and settle the accounts of the troops of this State in the service of the
                      United States to the said John L. I-ardenbergh for the depreciation
                      of his pay while in the said service, are alledged to be lost or destroyed
          Auditors      Be it therefore enacted tj, the .People of the State of New York,
          otherr. represented in Senate and Assembly, and it is hereby enacted by the authorit ,
          to John L, of the saine, That it shall and may be lawfull for the said auditors or any
          tlificates
            harden-   two of them, to grant to the said John L. Hardenbergh other certifi.
          bergh.      cates for the depreciation of his pay while he served in the regiments.of
                      this State in the service of the United States, amounting to the value
                      of the certificates formerly given to him at the time they were made,
         Dond to be and bearing interest on that amount; on the said John L. Hardenbergh
         givenl.      with two sufficient freeholders as his sureties having first sealed and de-
                      livered in the presence of three witnesses, of which at least one of the
                      said auditors to be one, a joint and several bond to the treasurer of this
         Condition. State in treble the amount of the said certificate, with condition, that
                      the said John L. Hardenbergh his heirs executors or administrators
                      shall and will save harmless and keep indemnified the people of the
                      State of New York from any costs charge claim payment or demand,
                      or the location of any lands tenements or real estate, for by reason or
                      on account of the said certificates which are alledged to be lost or de-
                      stroyed.
         Entry to
         made    onbe    And
                           ."'tbe it further enacted b), the authority aforesaid That tile said
         margnngre. auditors who may subscribe the certificates to be given to the said John
         ina       in L. Hardenbergh in pursuance of this act, shall before they deliver the
                      said certificates last mentioned to the said John L. Hardenbergh,
                                                                                            or to
                      any other person for his use, make such memorandum as they shall
                      think proper on the margin remaining in the book from whence the cer-
                      tificates alledged to be lost were indented and taken out, and also on
                      the margin from whence the certificates to be given in pursuance of this
                      act shall be taken out, purporting that the last mentioned certificates
                      are given in lieu of those alledged to be lost or destroyed; and shall also
                      indorse on each certificate to be given in pursuance of this act, a memo-
                      randum, that tile same is or are given in lieu of those alledged to be lost
                      or destroyed, specifying in such memorandum the number and amount
                      in value of the certificates alledged to be lost or destroyed.


                                                CHAP. 27.
                                        AN ACT to regulate the militia.
                                                                   PASSED the 4th of April, 1782.
         Preamble,      WHEREAS it is necessary to put the    militia on such an establishment
                      as will most effectually encourage a martial spirit among the people, pro-
                      vide for the internal and external security of the State and enable it
                      most vigorously to co-operate with the other United States in a cause
                      no less noble and exalted than the defence of the common rights and
                      liberties of America against hostile tyranny and oppression.
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           CHAP. 27.]                  FIFTH SESSION.                                          441
             ,I. Be it therefore enacted by the Peofle of the State of New. York Persons to
           representedin Senate and Assembly and it is hereby enacted by the authority be enrolled
            f the sane That every able bodied male person (Indians and slaves
           excepted) residing within this State from sixteen years of age to fifty
           (except such persons as are hereinafter excepted) shall immediately
           after the passing of this act, unless he shall have been heretofore en-
           rolled by the captain or in his absence the next commanding officer of
           the beat wherein he shall reside, be enrolled in the company of such
           beat. That every captain or commanding officer of a company shall
           also enroll every person who shall from time to time arrive at the age
           of sixteen years or come to reside or sojourn within his beat and with-
           out delay notify such enrollment to each person so enrolled by some in-
           ferior officer of the company who on oath shall be a competent witness
           to prove such notice. That if any dispute shall arise with respect to the Command-
           age or ability to bear arms of any person, yit shall be determined by the Ingomcer
                                                                                       to dater-
           colonel or commanding officer of the regiment whose determination in mine dis-
           the case shall be final, Th'at every person so enrolled and notified shall pule".
                                                                                       Person
           within twenty days thereafter furnish and provide himself at his own enrolled to
           expence with a good musket or firelock fit for service, a sufficient bayo- hamself
                                                                                         rovide
           net (unless he shall be provided with a good rifle) with a good belt or wltheqtilp-
           pouch or cartouch box containing not less than sixteen catridges suited and rnntappear ",
           to the bore of the musket or firelock, each cartridge containing a proper wNith same
           quantity of powder and ball or in lieu of such pouch cartouch box or called out.
           cartridges, with a quantity of powder and ball respectively disposed of
           in a powder horn and shot bag, and wadding sufficient for the same and
           two spare flints, a blanket and knapsack; and shall appear so armed, ac-
           coutred and provided, when called out to exercise, or duty, as herein after
           directed; except that when called out to exercise only, be may appear
           without blanket or knapsack; and if any such person shall appear to the
           captain or commanding officer of the company to be too indigent to
           arm, accouter and provide himself in manner aforesaid, he shall be fur-
           nished with arms and accoutrements out of the monies to arise from such
           fines as shall from time to time accrue in the regiment to which lie shall
           belong, and in case of deficiency thereof, out of the public magazines or
           stores of this State, by order of the person so administering the govern-
           ment of this State for the time being.
              .11. That the commander in chief for the time being shall by general Corn
           orders arange the militia of this State into brigades, regiments, and corn- chief
                                                                                       mander   to In
           panics, and by and with the advice and consent of the council of ap- arrnge
           pointment, appoint such and so many brigadiers general and other. Into      "llitill
           officers as he shall think most conducive to the public service; copies brigades,
           of such general orders to be filed in the office of the clerk of the county etc.
           where the regiment, or company shall be.
               III. That each brigadier general shall have one brigade major of his lrlgade
           own choice, to rank as major in the militia and receive pay on the certi- major.
           ficate of his brigadier for the time he shall be in service.
               IV. That in case of the death, resignation or other inability to serve Command.
           of any colonel now commanding a regiment, no colonel shall thereafter ante of
           be appointed thereto, but that such regiment and all others not now regiments.
           commanded by a colonel shall henceforth be commanded by a lieuten-
           ant colonel.-That each regiment shall have one major (unless in cases
           where it shall be thought necessary to appoint two majors- That each Company
           company shall be officered with one captain, one first lieutenant, one oficers.
           second lieutenant and one ensign, as commissioned officers (That in
           case of the death, resignation or other inability to serve of any second
           lieutenant it shall be in the discretion of the governor by and with the
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                    advice and consent of the council of appointment to appoint anothir
                   or not) and by four serjeants, four corporals one drummer and one
        Regi-
        mental     fifer- And the staff of each regiment shall be, one adjutant and one
        staff.     quarter master who shall repectively rank as first lieutenants, and the
                   serjeants, corporals, drummers and fifers, shall be appointed from time
                   to time by the captains or other commanding officers of the several
                   companies; and if any non commissioned officer so to be appointed shall
                   refuse to accept the office to which he shall be appointed he shall forfeit
                   the sum of forty shillings, to be adjudged levied and disposed of, in
                   manner as is herein after directed with respect to ,ines for neglecting or
                   refusing to appear to train and exercise as is herein after mentioned.
       Colors,        V. 'rhat each regiment shall be provided with a standard of colours
       drum and
       fife.       at the expence of the field officers, and each company with a drum and
                   fife at the expence of the commissioned officers thereof -
       Troops of      VI. That there may be a troop of horse in each brigade and two
       horse and
       grenadi-    troop, of horse in the county of Westchester and a company of grena.
       ers.        diers in each regiment of foot which may conveniently furnish the same-
       Of  whom
       to beo  om- That the said troops of horse and companies of grenadiers shall respect-
       posed.      ively, be formed and composed of volunteers in the respective brigades
                   and regiments residing at such convenient distances from each other
                   that they may with ease and dispatch be called out for training, disci-
       Proviso as pline or other service. Provided that no troop of horse shall be estab-
       to
       of consent
           briga. lished without the consent of the brigadier or commanding officer of the
       dier, etc. brigade; and that no grenadier company shall be established in any
                   regiment without the consent 'of all the field officers; and that no
                   troop of horse or grenadier company shall exceed fifty men officers in-
                   cluded; and that no person shall hereafter inlist in any troop of horse
                   or grenadier company without the consent of the commanding officer of
                   the regiment in which he shall reside.-
       Elt-           VII. That on every such inlistment of a volunteer the captain of a
       beneto      troop of horse or company of grenadiers do immediately certify to the
       Red.        captain of the beat from which such volunteer shall inlist, the inlistment
                   of the said volunteer.-
       Equip-ef
       ment           VIII. That each trooper shall be equipped and provided with a good
       troopers serviceable horse at least fourteen hands high, a good saddle, housing,
       and         holsters, breast plate and crupper, a case of good pistols, a good horse-
          ena-
       Mers.       mans sword, a pair of boots and spurs, and a carbine well fixed with
                   a good belt, swivel and bucket, and a cartridge box to contain twelve
                   cartridges at least; and that each grenadier shall be equiped and pro-
                   vided with a grenadier's cap, a good musket and bayonet, a broad
                   sword, a belt and pouch or cartridge box, and so equipped and provi-
       Tobe        ded the troopers and grenadiers shall respectively be called out under
       called out. the direction of their respective officers as is hereby required with re-
                   spect to the rest of the militia.
       Regl-          IX. That each colonel or commanding officer of a regiment shall in
       mental
       parades.    the months of May and October in every year, call out his regiment to
                   his regimental parade, (which shall be the place in the district of the regi-
                   ment the most convenient for that purpose,) and having paraded the
                   same, shall require from the captain or commanding officer of every beat
                   in the regiment a return thereof, expressing the exempts and the absen-
                   tees, and the causes of the respective exemptions and absences; cause
                   the said regiment, except the exempts then paraded, to be called by the
                   company rolls; and the arms, ammunition and accoutrements of each
                   man to be examined, and the defaulters to be noted, and shall cause
                   them to be sufficiently exercised, trained and disciplined; and shall
                   within two weeks there after make or cause to be made a true regimental
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          return (excepting therein by name the exempts or absentees) to the
          brigadier general or commanding officer of the brigade - That the cap- Company
          tain or commanding officeL of each company shall and. may call out his parades.
          company to such place within his beat as shall be most convenient for
          that purpose at least four times in every year, and shall cause them when
          so called out to be well and sufficiently exercised, trained and disci-
          plined.
             X. ' hat every commissioned officer of the militia in this State who oficers
          shall omit or neglect to.. ...perform any of.. the duties
                                                              .to   by this act enjoined neglecting
                                                                                            perform
          on hin, of enrolling training or disciplining in and to the use of arms duty to be
          the militia of this State, or of making perfect returns of the militia, or tried by
          of not calling out to actual service the militia or any part thereof when martial,
          necessary, and shall, if under the rank of a brigadier be thereof con- etc.
          victd by a brigade court martial from the brigade to which he shall be-
          long, consisting of at least thirteen members (which court martial the
          brigadier is hereby authorized and required to appoint and direct to
          sit) and the sentence thereon be confirmed by the brigadier general or
          the officer commanding the said brigade with the right of appeal to the
          commander in chief to whom the proceedings shall be immediately re-
          ported. Be ipsofacto removed from his office and reduced to do duty in
          the ranks as a foot ,oldier; any exemption from duty to the contrary in
          any wise notwithstanding. And all brigadiers general, for offences, not
          particularly provided for in this act, shall be tried by a general court
          martial to be appointed by the commander in chief; and if on conviction
          the sentence thereof be confirmed by the commander in chief, that there
          upon such brigadier general shall be removed from his office.-That all Sentene
          sentences of courts-martial so confirmed shall be by the commander in btoberlaid
          chief from time to time, laid before the council of appointment, to the councilappolint. of
          end, that the person administring the government of this State for the mint.
          time being by and with their advice and consent may appoint others
          instead of the officers so found guilty.
             XI. That every commissioned officer of the militia of this State, who omcers
          shall be cashiered, or who shall resign his commission, not being super- cashiered,
                                                                                         etc., to do
          seded in rank in the company to whichli he belongs, or being a major, or duty  privates
          captain, not being superseded in the regiment to which he belongs, or soldiers.
          commanding a regiment not being superseded in the brigade to which
          he belongs or unless his resignation shall be accepted by the governor
          by and with the consent of the council of appointment, shall be obliged
          to do the duty of, and in every respect, be put on a footing with a pri-
          vate soldier, any thing contained in this act, to the contrary thereof not-
          withstanding.
              XII. That every non commissioned officer or private of the said mili- Non.com-
                                                                                         ,issioned
          tia who shall neglect to appear when called out to train or parade as officer,
          herein before mentioned, without sufficient excuse, shall for every suchSvtes  and pri-
                                                                                                to
          offence forfeit the sum of ten shillings; and if he shall appear wanting forfeit
           any of his arms, ammunition, or, accoutrements prescribed for him by ali"
           this act, without sufficient excuse, he shall for every deficiency forfeit case     of
                                                                                         neglect,
           the sum of two shillings-and if any non commissioned officer or private etc.
           in any troop of horse, or company of grenadiers, shall lie charged with
           either of the said offences and shall not have sufficient excuse, he shall
           forfeit for the offence of not appearing the sum of twenty shillings-and
           for every other of the said offences the sum of four shillings.-
              XIII. That all fines to arise from offences in a company only when lines. how
           called out to train or parade shall be adjudged of, and inflicted by the andved.
           commissioned officers of such company, or the major part thereof, and
           shall be levied with costs, by warrant under the hand and seal of the
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                   captain or commanding officer, directed to one or more of the serjeants
                   of the company, by distress and sale of the goods and chattles of the
                   offender and paid by the serjeant or serjeants to the said commanding
                   officer of the company; and that all fines to arise from the like of-
                   fences, upon the calling out of the regiment, shall be adjudged of and
                   inflicted by the field officers of the regiment, or the major part ofthem,
        Fines, how and shall he levied with costs, by warrant under the hand and seal of
        to bu ad-
        Judged of the commanding officer of the regiment, directed to one or more of the
        and col-   serjeants of the said regiment) by distress and sale of the goods and
        lected.    chattels of the offenders respectively, and by him or them paid to the
                       said commanding officer; all which fines shall by the commanding offi-
                       cer of the regiment, or of the companies, be paid over to the quarter
                       master of the said regiment, to be by him laid out under the direction
                       of the field officers of the regiment, or the major part thereof, for arm-
                       ing, accoutring and furnishing with ammunition, the privates thereof, in
                       manner aforesaid; and where, in any case, no goods or chattels shall be
                       found, then on such warrants to be issued in either of the cases above
                       mentioned, the serjeant or serjeants shall take the body of the offender
                       and him coirvey to the common gaol of the county; and if there shall
                       not be a common gaol in the county then to the common gaol in an
                       adjoining county there to be kept in safe and close custody, until he pay
                       the fine with costs, and the gaoler of such gaol is hereby required and
                       commanded to receive such offender with the varrant and him safely
                       keep until he shall have paid his said fine and casts, or shall be dis-
                       charged by the commanding officer of the regiment to which he doth
                       belong, which gaoler shall after receiving the said fine and costs, on de-
                       mand by such serjeant or serjeants pay the same to him or them; and
                       thereupon such fine shall be disposed of in manner herein before directed
                       for the disposal of fines.
        OMetal             XIV. That all officers in the militia shall take rank accgrding to the
        rank.          dates of their commissions, provided that where any officer now holds
                       the same office in the militia which he held under the late government
                       before the revolution, or under the convention before the present gov-
                       ernment, and since hath received a new commission for the same office,
                       such officer shall take rank from the date of his former, and not from the
                       date of his last commission, any thing herein contained to the contrary
                       notwithstanding.
        Returns to XV. That from all returns to be made by the commanding officers of
              comd- to regiments
        bthemtade      ...         respectively to the respective brigadiers"general, or command-
         mandnrin ing officers of the brigade; brigade returns shall without delay be made
         chief,        to the commander in chief, that the commanding officers of regiments
                       not formed into brigades shall without delay make zeturns to the com-
                       mander in chief.
         Brigades,         XVI That one brigade, regiment, or, company of foot (except grena-
         eto, how diers who shall form on the right of the regiment) shall not be consid-
         to rank and
         be posted ered as older, or having rank or preference of the other; but each bri-
          1,1nno.      gade, regiment or company shall be posted and disposed of in the line,
                       on command as the commanding officer on the spot, shall on every oc-
                       casion or emergency think proper. -
         Militia to        XVII. That on every emergency of a sudden actual or threatened
         be drawn invasion by the enemy, or any insurrection, the commanding officer of
         out In Cases                                    inuretin
         of emer- any brigade, regiment or company, as the case may require, shall imme-
        geony          diately draw out the militia under his command, and with them march
                       to any place, whether within or without the State, to oppose the enemy,
                       or to quell insurrections within the State; and that all brigades, regi-
                       ments, troops and companies, shall from time to time be subject to gene-
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           ral, brigade, regimental and company orders, as is usual according to
           the course and practice of war, for suddenly taking the field for the pur-
           pose aforesaid - And all such orders by any officer unler the •rank ..  of be
                                                                                      Orders  to
                                                                                         reported.
           commander in chief, shall be rcported in writing by express to the corn- by express
           manding officer of the regiment, if given by one under his command, to        com-
                                                                                      manding
           and if given by the commanding officer of the regiment shall be reported officer.
           to the brigadier general; and if given by the brigadier general, to the
           commander in chief; all which reports shall be acted upon by the re-
           spective persons to whom the same shall respectively be made, as the
           emergency may require, and by such persons respectively, be reported
           with their respective proceedings thereon to their next superior officer;
           and so on in succession till they reach the commander in chief.
              XVIII. That every person in the militia whether officer or private, Pay and
           when called out into actual service, either to act seperately or in con- rations.
           junction with the troops of the United States of America, shall from the
            time of his marching out into the said service until he be properly dis-
           charged therefrom, be allowed pay and rations according to the Conti-
           nental establishment; and having marched out in such service, and before
           his proper discharge or dismission shall commit any offence or shall be-
           fore such discharge or dismission desert from the corps to which he
                                                                                            Deserters
            shall belong, or from •his• post, shall for every-- such offence be subject• to subject to
            the rules and articles of war, established by the congress of the United rulesand
            States of America, for the better government of the troops in the service articles of
                                                                                        theWar.
            of the said United States, which shall be put in execution against
           offender by the militia orders and authority, in like manner as the same
            are put in execution in the army of the said United States against of.
            fenders therein, by proper orders and authority thereof; and that in all
            such cases the governor or commander in chief for the time being, and
            all militia officers, subordinate to him, shall and may enjoy and exercise
            all the powers by the said rules and articles of war given to the com-
            mander in chief of the army of the United States, and the several officers
            subordinate to him in the said army-And that upon notice left at the Upon
           usual place of abode of any offender containing the charge against him ne left
            and the time and place when and where the court martial will be held proof             and
                                                                                            dence of
           for his tryal, and due proof made to such court of the service of such service
           notice, it shall be lawful for such court to proceed to the tryal of such court may
            offender, in like manner as if he had appeared and plead not guilty to ofonder.
           the charge.-
               XIX. That in every case where a fine shall be imposed by a court mar- In ease of
           tial in consequence of the last preceeding clause, it shall and may be law-mnn           y
           ful for such court martial to direct the offender (in case of the non files      offenders
           payment of such fine) to serve in and do duty with any one of the in
           regiments of the army of the United States of America raised by the belfrected
                                                                                            to serve as
           direction and under the authority of this State, as a private soldier privates
           thereof, for and during such time as the court martial shall adjudge not
           exceeding six months.-
               XX. That the commander in chief for the time being shall have Com-dnn~er              In
           power and authority from time to time in his discretion, to order out chief may
           the whole, or any part of the associated exempts and enrolled mili-. milltlu,    order out
           tia of this State into actual service, not only for the defence of this etc.
           State, but to give assistance to any other of the United States, or to
           reinforce the army of the United States or any part thereof, and to cause
           each of them to march out of this State for either of the said purpose',
           and that the associated exempts shall be called out in rotation so as to
           do their equal proportion of duty with the enrolled militia, as nearly as
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                     may be in the discretion of the commander in chief or brigadier general
                     within whose command the associated exempts do reside;
      Term of           Provided always, that none of the enrolled militia of this State or as-
      eorvleo,       sociated exempts, shall be compelled to do duty out of the same for a
                     greater space of time than forty days at any one time. And provided
                     also that not more than one third part of the militia and associated ex-
                     empts of this State shall on any occasion or emergency be required or
                     ordered to march out of this State, any thing herein contained to the
                     contrary hereof in any wise notwithstanding.-
        lritia          XXI. That whenever any sherif his deputy or any other ministerial
      cabeo          officer in any of the counties of this State shall receive any legal process
            oaldoutananlel
      Iff aid
      to      shor- commanding him or them to apprehend any person or persons therein
          in exe-
      cuting po- charged with any crime or offence against the laws of this State, and
      Cess,          such sherif his deputy or other ministerial officer shall have been for-
                     cibly resisted or shall have good grounds to suspect that by force and
                     arms he will be obstructed or resisted in the execution of such process
                     by the said offender or offenders, and his or their aiders and abettors,
                     such sherif his deputy or other ministerial officer shall represent the cir-
                     cumstances of such resistance or the reason of such his apprehension
                     to the brigadier general or other commanding officer of the militia of
                     the county in which such process is to be served; and if it shall appear
                     to the said brigadier or other commanding officer that there are just
                     grounds for such suspicion, that then and in every such case it shall be
                     lawful for the said brigadier general or other commanding officer to order
                     out such detachment of militia as to him shall appear necessary to aid the
                     said sherif, his deputy or other ministerial officer to execute such pro-
                     cess and which said detachment shall act under the directions and or-
                     ders of such sherif, his depty or other ministerial officer. That such
                     brigadier or other commanding officer shall from time to time report to
                     the commander in chief such applichtion and orders lie shall issue in
                     consequence thereof.
     Military      XXII. That for the several purposes aforesaid general, brigade and
     courts,    regimental courts martial, and court,; of inquiry shall from time to time
                as cases may require, be instituted and formed, and general, brigade and
                regimental orders from time to time given, upon the plan directed by the
                aforesaid rules and articles of war, and by the officers in rank respec-
                tively in the militia equal with those respectively authorized for the
                purpose by the said articles of war; in respect whereof the governor or
                commander in chief and all militia officers respectively shall be con-
                sidered as on the same footing as the general and commander in chief
                of, and as the officers in their respective ranks belonging to, the army of
                the said United States.-
      Punish-      Provided always that no commissioned military officer, except when
      inent,    questioned upon the aforesaid rules and articles of war, shall be sen-
                tenced or adjudged to any other punishment than to be cashiered and
                rendered incapable of any military office whatsoever within this State.
      Fine In
      commuta      And provided
                          ,        also that it shall and may be lawful for a court martial
      tonofcor- whenever they shall conceive it proper to fix and determine a fine for
      portI     which any person adjudged to receive corporal punishment may com-
      mont.     mute such punishment; and if the same fine shall be paid within the
                time by the court martial for that purpose limited-the said person shall
                be accordingly acquited of such corporal punishment. That all such
                fines shall be paid into the hands of the president of the said court mar-
                tial, and shall by him be paid into the hands of the quarter master of the
                regiment to which the offenders do belong, for the purpose of providing
                a sufficient quantity of arms and ammunition for the use of the said
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       regiment agreeable to the directions in the fourteenth clause of this
       act; and that the overplus be paid by the said quarter master into the
       treasury of this State.
           XXIII. That a roll of the privates of each company shall be made Privates to
       and divided by the commanding officer of the company into eight classes be divided
       as nearly equal iii number to each other as conveniently may       be, and a classes,
                                                                                     etc.
       scrjeant or corporal shall be alloted on the roll by the commanding
       officer to each class, which said eight classes in each company      shall on
       detachments, or drafts in pursuance of this act, perform their tour of
       duty in numerical order; and to ascertain which class shall take the first
       and which the second tour of duty on detachment, and so on to the
       eighth class, eight slips of paper numbered respectively from one to
       eight inclusively shall be so rolled up, or otherwise closed, as to conceal
       the number, and being put into a hatt and well shook together in the
       same, the serjeant or corporal of each class shall, in the order to be di-
       rected by tlhe commanding officer in behalf of his class, take out one of
        the ballots, and the number drawn by the serjeants and corpurals re-
       spectively, shall determine the respective tours of duty of the' several
        classes- The class which draws number one, to have the first tour of Tours of
        duty, and so determining their respective tours of duty in a numerical duty.
        order throughout all the eight classes, and in the same numerical order
        shall the eight classes continue their rotation without any new balloting,
        until the numbers respectively contained in each class shall by the
        events of war, other accidents become very unequal, when there shall be
        a new balloting as above directed. That where a company increases
        by the accession of men from any other parts, or by persons residing
        within the beat and arriving to the age of sixteen years, the command-
        ing officer of the company shall therewith compleat any classes which
        may have become deficient; and if a residue remains shall distribute
        such residue as equally amongst the classes as circumstances will permit-
           XXIV. That when and as often as tile classes shall be thus fixed, Roll of
        each commanding officer of each company shall form a roll consisting of classes, etc.
        the eight classes, and containing the names of the men in each class
        with the names of the serjeant and corporal respectively prefixed to each
        class, and numbered according to the order of ballotting, which he
        shall keep for his own use guidance and direction, and shall notify each
        serjeant, corporal and private, to what class he shall belong ; and shall
        return a copy thereof with the list of his commissioned officers prefixed
        thereto, without delay, to the colonel or commanding officer of the regi-
        ment who shall enter all such and every other company return, in a
        book to be kept by him for the purpose.-
           XXV. rhat the commanding officer of each regiment shall on receipt Tours   duty ofof
        of all the classed returns of the companies in the regiment, convene to- count-
        gether all the corma issioned officers in the regiment, and proceed in like sloned offl-
        manner, to fix by ballot, the respective tours of duty, of all commissioned cers.
        officers under the rank and degree of a field officer, from and including
         number one, to and including such number as shall be equal to the num-
        ber of companies in the regiment, which balloting shall be made sepe-
         rately and severally in the four several lines of office, and be entered
         by tile commanding officer in his said book; as also the quota of each
         detatchmnent, both as to officers and privates, in order thereby, from time
         to time to ascertain the rotation of the service of both, which shall ever
         be determined by such quotas respectively.
            XXVI. That if there be two majors belonging to a regiment, they Majors to
         shall decide by lot, which of them shall take the first tour of duty, and tame
                                                                                      ,adecide
         the order or tour of duty thereby established shall ever after govern.       lot. by
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            Rotation or       XXVII. That to establish the rotation of duty on detachments among
            lao),monts      the several field officers in the regimcnts composing a brigade, the col-.
           flofg           nels, lieutenant colonels and majors, shall without delay meet to.
           cers.           gether and decide the same by several and seperate lots in numerical
                           order as aforesaid, in the several lines of office, which being done, a roll
                           thereof shall be made and subscribed by them all, and returned to the
                          brigadier general of the brigade-The colonels, lieutenant colonels and
                          majors of the regiments not brigaded shall meet and decide the rotation
                          of duty on detachments, the same as the colonels, lieutenant colonels
                           and majors of the brigades are by this act directed.
           Brigadier          XXVIII. That to a brigadier generals command of detachments, the
           general, commander in chief shall appoint such brigadier general as shall in his
                          judgment appear most proper for the advancement of the service.
           Masy lie eora- ,.. XXIX. That every private shall be allowed to substitute on detach-
           Substitute
           ployed. e ments an able bodied private in his stead who shall nevertheless take
                          his own tour of duty in the order wherein it shall have been fixed as
           Tours of       atoresaid-That in case of sickness or by unavoidable accident any offi-
           duty  In fil- cer or private shall be prevented from taking his tour of duty on any
           case of
           neas, eto, detachment, the next to him on the respective rolls of detachments
                        without regard to classes with respect to privates, shall fill his place,
                        and the person so prevented shall in return take the proper next tour of
                        duty on detachment of him so filling his place ; and all classing as afore-
                        said shall go on in rotation, in the several numerical orders above men-
                        tioned, as long and as often as the public service shall require the same.
           Dlscre-          Provided alvays, that the commander in chief shall and may from
           tonary       time to time in his discretion order out on detachment as great a part
           order out or the whole of any brigade, regiment, tiool) of horse or associated ex-
           troops.      empts as he may think proper or the whole militia into actual service:
                        And also that the like discretionary power may on sudden emergencies
                        and without waiting the order of his superior officer btu exercised by
                        the commanding officer of any brigade, regiment, troop of horse or com-
                        pany respectively, over each brigade, regiment, troop of horse, or com-
                        pany, giving notice thereof in writing without delay, together with all
                        things relating thereto, as well to his commanding officer as to the
                        commander in chief for the time being.-
           Governor        XXX. That if the commander in chief of the army of the United
           on rerfulsl- States should in the prosecution of the war be under the necessity of
           tin of
           coniand- calling on this State for an aid of militia for offensive operations within
           or In                                                                       goenro
           ehler of U. this State, it shall and may be lawful for his excellency the governor or
           S. army, the person administring the government of this State for the time be-
           n                 on every such requisition to detach from the regiments of mili-
                        igntatrop.
           ror opera- tia of this State or from such of them as he shall judge proper such
           Mollrs.      and so many officers noncommissioned officers and privates as he shall
                        from time to time deem consistent with the interest and safety of the
                        State, to continue in service for such time as he shall judge proper not
                        exceeding the term of three months from the time they shall arrive at
                        the place of actual service and the same to relieve as occasion may re-
                        quire.
           Exempts
           from    ser-     XXXI. That all persons tinder the age of sixty who have held civil
           vice tu on. or military commissions, and are not or shall not be re-appointed to
           rltlett      their respective proper ranks of office, and all other persons between
            inlitia,    the age of fifty and sixty years who have associated and elected their
                        officers, or shall hereafter associate themselves, shall be exempted from
           Voluntary serving as part of the enrolled militia -That all persons who have not
           assoclst        r
           tlons to be yet associated, shall form themselves into voluntary associated regiments
           formed,
           etc.         or companies according to their number in each respective county and
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         recommend their own officers, and that all such associated regiments or
         companies shall make returns thereof respectively to the commander
         in chief for the time being without delay, who with the advice and con-
         sent of the council of appointment shall issue commissions to them ac-
         cordingly, in default of which returns they shall respectively do duty in
         the ranks with the militia of the beat within which they shall respec-
         tively reside, until they shall respectively associate as aforesaid - That Assocla-
         the substance of such associations shall be, that the associators will sev- obey or-
         erally on all occasions obey the orders of their respective commanding ders, etc.
         officers, and all others authorized to give them orders by this act, and
         will in cases of such invasion or incursions of the enemy or insurrec-
         tions march to repel the enemy or suppress such insurrections in like
         manner as the enrolled militia are compelled to do; so that they shall
         not when called out in detachments be annexed to any other regiment
         or coml)any, or be under the immediate command of any other than
         their own officers, except as herein after excepted, lut be deemed and
         considered as a seperate and distinct corps; and that when such asso-
         ciated exempts shall be called into actual service, they shall be sfibject
         to the orders and command of any and every officer of superior rank to
         such officer of associated exempts.-
            XXXII. That every person an inhabitant of this State subject by this Persons
                                                                               limits of sub eot to
         act tomilitary duty in the militia who shall remove out of theassociated        Mt.
         the regiment or corps in which he shall be commissioned,
         or enrolled, or sojourn or be within the limits of any other regiment or
         corps, shall be subject to drafts, and be obliged to do duty in the regi-
          inent or corps within the limits of which he shall so happen to be.
            XXXIII. That the lieutenant governor, members of the senate and Persons
         assembly, the clerks of the senate and assembly, all judicial officers, the oeienl
         secretary of this State, and one of his deputies, the attorney general of ing, etc.
         this State, the treasurer of this State, the auditor of this State, the clerks
         of courts of law, the county clerks the clerk of the court o probates
         all ministers of the gospel, all post masters and post riders, all sherifs, and
         one gaoler to every gaol, notwithstanding their being respectively able
         bodied above sixteen and under sixty years, and all such persons who shall
         procure special exemptions from the commander in chief of this State
         for the time being, shall respectively be exempted from training and do-
         ing duty in the militia, but shall nevertheless be armed accoutred and
         provided as by this act is directed -That it shall and may be lawfull to
         and for the commanding officer of every regiment to grant exemptions
         in writing to such physicians, surgeons, school masters, millers and
         ferrymen, as he shall in his judgment deem it would be more prejudicial
         to the common weal to take out with the militia, than to permit them to
         remain at home; provided no such exemption shall from time to time be
         given for a longer term than thirty days from the date of the permit.-
            XXXIV. That each male person between the ages of sixteen and Quakers
         sixty years who is or shall be of the people called Quakers, upon pro- exempt.
         ducing a certificate from one of their quarterly meetings that lie is of
         the society called Quakers, shall be exempted from all personal military
         service whatsoever to which he would be subject by this act was he not
         of the people called Quakers; and for such exemption shall yearly and Yearlytax.
         every year pay the sum of ten pounds in lieu of all military service what-
         soever required by this act - And for the purpose of levying the said Howlevied
         annual sum, the commanding officer of every beat shall        annually in theand cooUeUo
                                                                   of the ward, town,
         month of May return to the respective supervisors
         manor, precinct or district, wherein he shall reside a list of such Quakers
         as aforesaid, residing within his beat; and the respective supervisors of
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                    the county at either of their meetings shall make out a seperate tax list
                    thereon (a copy whereof they shall cause to be delivered to the treas-
                    urer of the county) with a warrant to be issued by them to the collec.
                    tors respectively, for levying the same, of the form as near as may be,
                    agreeable to the form of the warrants to collect the taxes for defraying
                    the contingent cxpences of the county; and in default of goods and chat-
                    ties of any Quaker, whereon to levy the said sum, the warrant for levy-
                    ing the same shall authorize the collector to commit him to the gaol of
                    the county, and if there shall not be a gaol in the county then to the
                    gaol in an adjoining county- and the keeper of such gaol is hereby re-
                    quired to receive and detain him in safe custody until the said sum shall
                    be paid to the said collector; and the said collectors shall respectively
                    pay the monies they shall so from time to time collect into the county
                    treasury, from whence they shall be paid by the several county treasu-
                    rers into the treasury of this State, for which collection the collector
                    shall be allowed the like poundage as for collecting the contingent
                    charges of the county.
        Act not to     XXXV. That this act or any thing in the same contained shall not
        affect per- in cases of drafts or detachments of the militia affect any person who
        have fur-
        nished sub- has furnished heretofore, a sufficient able bodied man for service in one
        shetutob, of the regiments raised under the direction of this State, unless the time
                     of such service shall have expired.-
        Verbal
        inotice         XXXVI. That in all cases where notice is required by this act, ver-
        sufcient. bai notice to the party himself or left at his usual place of abode with a
                     person of the years of discretion by any commissioned officer or non-
                     commissioned officer of the company, shall he deemed a legal and suffi-
                     cient notice.-
        Compensa-       XXXVII. And be it enaced by the a1tltorily aforesai, That the offi-
             of o-fl cers attending general or regimental courts martial by virtue of this act
        tion at-
        cars
        tending
        courts       shall for every day they shall respectively serve on the said courts be
        martial.     paid the sum of six shillings, (which said sum of six shillings per day,
                     shall be in full of all pay and subsistence for such service,) out of the
                     fines to be imposed by the said courts, to be ascer'...ined by the respec-
        Fines, how tive presidents of the said courts - That the fines imposed by the said
        recovered. courts shall be recovered by warrant, under the hand of the command-
                     ing officer of the regiment, directed to any serjeant or serjeants of the
                     regiment by distress and sale of the goods and chattles of the offender,
                     and for want thereof the offender shall be committed to the gaol of the
                     county, and if there shall not be a common gaol in the county then to
                     the gaol in an adjoining county; and the keeper of such gaol is hereby
                     required to receive and detain him in safe and close custody until the
                     said fine shall be paid, or until the time of his confinement expires
           paid to agreeable to the said warrant-
        Officr
        be                                             That out of the said fines when recov-
        from         ered the commanding officer    of the regiment shall pay the said officers
         elved re- of Iis said regiment attending on the said courts, and the overplus money
         noneys
        from flnes, of the said fines shall by the said commanding officer be paid into the
                     treasury of this State.-
        Reimburse-      XXXVIII. And wheras the commanding officers of brigades and
        maul of regiments are frequently on extraordinary emergencies obliged to disburse
        gaid out     of their own monies for paying expresses; for reimbursement whereof,
         YoMcers, the treasurer of this State, shall and is hereby required from time to
                  time to repay' the same out of any monies in the treasury not by law
                  otherwise particularly appropriated provided that the accounts thereof
                  respectively shall be first sworn to before a justice of the peace of any
                  county within this State.-
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            XXXIX. Andbe it fur/her enacted by the authorityaforesaid, That the Ammunt-tion to be
         commissioner of military stores of this State, shall on application of any furnished
         commanding officer of a regiment of the militia of this St tte,   by draft in on requlal-
                      the said commissioner, in  favor of the  quarter master of the tiho.
         writing on
         regiment with a warrant endorsed by the person Administring the gov-
         ernment of this State for the time being, furnish him with such quan-
         tities, either of loose ammunition or made up in cartridges as shall be
         directed by such warrant; the said quarter master paying for the same
         the first cost thereof and the expenee of making up the same; which
         monies the said commissioner shall from time to time lay out in the
         purchase of ammunition.-
             XL. Andbe it further enatclea bi, the dutoriOl , aforesaid, That if any Wounded
         person be wounded or disabled, upon assisting in repelling any   • invasion beactions  to
                                                                                          subsist-
         or incursion of the enemy, or suppressing an insurrection, or in any ed, etc.
         other legal military service, he shall be subsisted and provided for at
         the expence of the State, during such disability, except such persons
         whose cases are already provided for by the several acts of Congress of
         the United States of America, making provision for persons that may
         become disabled while in the service of the United States. That each
         person who hath been or shall hereafter be so wounded or disabled, and
         whose cases shall not be provided for as aforesaid, shall be entitled to
         such partial or permanent allowance, as shall be adjudged by the field
         officers of the regiment (not exceeding the allowances granted by the acts
         of congress aforesaid) and which adjudication, being confirmed by the
         commander in chief for the time being, he shall thereupon issue dupli-
         cate warrants under the privy seal of this State, upon the treasury, for the
          payment of the sum or sums so to be adjudged to the person so wounded
         or disabled, and the treasurer upon being served with one of the said
         duplicates; shall out ot any monies which may then be in the treasury,
         pay to the several persons in whose favor such warrants shall be issued
          the sum or sums therein respectively specified, and in such manner as
         shall be directed by the said warrants respectively.
             XLI. And be it further enacted by the authorit, aforesaid, That pro- Proceed-
          ceedings or trials at courts martial directed by this law, may be carried         rgs
                                                                                             of
         on at any time or times, the seventh article of the fourteenth section martlals.
         of the said articles of war, whereby such proceedings or oftrials    are pro- When car-
                                                                          eight in the
         hibited from being carried on, except between the hours
         morning and three in the afternoon, to the contrary notwithstanding.-
             XLII. That the commanding officers of the several companies, shall Articles of
         cause the said articles of war to be read and published at least twice in raa be
         every year, at the head of their respective companies.-
             And whereas in many instances the militia of this State have been
          necessitated for tl, want of provisions in the public stores to subsist
          themselves at thcih own expense when ordered out to repel the enemy,
             And whereas it may become necessary for the militia in future to
          furnish themselves with provisions on similar occasions.-
             XLIII. I3e it tlherefoire enacted bi the authority aforesaid, That the Oficers
          commanding officers of companies which shall so have furnished them- furnishing
                                                                                        themselves
          selves and their companies, or shall hereafter furnish themselves and their or   their
                                                                                         companies
          compitnies with provisions at their own expence, shall from time to time with sub-
          return to the commanding officer of the regiment or corps, duplicate slstence           to
                                                                                         make and
          sitbsistence rolls containing the names ot the several persons of their return
          respective companies who have, or hereafter shall furnish themselves rolls, etc.
          with provisions at their own expence and the number of days for which
          each person shall have so furnished himself, and which duplicate sub-
          sistence rolls, the said commanding officers of companies shall respect-
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                     ively subscribe, and swear to the same before the said commanding
                     officer, who is hereby authorized to administer an oath for the purpose,
                     and such commanding officer of the regiment shall thereupon make an
                     abstract of the subsistence rolls of the respective companies of such
                     regiment, and return duplicates of the same, together with one of such
                     subsistence rolls to the auditor, who is hereby required to audit such
                     abstracts, and to make a reasonable allowance for such provisions fur-
                     nished as aforesaid, and to return one of the said abstracts audited as
                     aforesaid to the said commanding officer of the regiment; and to charge
                     the amount of such abstraets to the account of ihe United States.-
         Only
         rationone
                per     Provided always, that no person shall be allowed more than one ration
         day         per day in such subsistence rolls.
         allowed.       And whereas the dispersed situation of the places of residence of the
         Proviso as
         tonotilying associate exempts renders the mode at present used for notifying them
         as.oclato to march in cases of invasions or insurrections extremely inconvenient,
         exempts, and in a great measure defeats the objects for which they were em-
                      bodied.
         INotlcehow     XLIV. Be it therefore enacted by, the autlhorit, aforesaid, That it shall
         given.       and may be lawful to and for the commanding       officers of the regiments
                       of enrolled militia, when and as often as their whole regiments shall be
                       ordered out for duty, to notify the senior officers of such associated
                       exempts residing within the limits of their regiments respectively, to
                       order the commissioned officers of such exempts as may reside therein,
                       to appear at the time and places appointed for the rendezvous of such
                       regiments respectively, and that it shall and may be lawful, to and for
                       any commissioned or non-commissioned officer of such regiments or
                       company of enrolled militia as shall be ordered out to oppose the enemy
                       or insurgents, to notify and warn the non-commissioned officers and
                       privates of such corps of exempts residing within their respective limits
                       or beats to march to such place, and at such time as the enrolled militia
         To do duty of such regiment or company are ordered to march -That until such
          with and
         be sub-       time as such associated exempts shall be joined by an officer of the
         ject to       corps in which they are associated, they shall march do duty with, be
          orders of
          command- annexed to, and be subject to the immediate command of the officer,
          ofr°ier commanding such regiment or company of enrolled militia within the
          mentsuntil limits or beat of which they respectively reside, and that the said officers,
         joined by
         an officer non-commissioned officers and privates of such associated exempts shall
         of the        be subject to the same pains and penalties for neglecting or refusing to
         corps.        march after being notified as aforesaid, as the enrolled militia are subject
                       to by this act, for neglecting or refusing to march.-
          Proviso
         to  expenseas    And whereas the conviction of delinquents for refusing to rendezvous
         of convio- and march when duly notified and ordered, hath heretofore been attended
         tion of de- with much expence and delay; and proper encouragement hath not been
          linquents. given to such as have evinced their
                                                             zeal and alacrity to rendezvous and
                       march to iepel an enemy, or subdue insurgents;
         Proceed-         XLV. Bie it therefore enacted by the authority aforesaid, That every
         ,as,er-       person enrolled in the militia of this State, who shall refuse or neglect
         ,on sen-
         rolled  in    to rendezvous and march with the regiment or detachment thereof
         the militia when duly notified so to do; and every person belonging to the associ-
         renuse   to ated exempts who shall refuse or neglect
         rendezvous                                           ngetmr~ to rendezvous and march
         and march when duly notified so to do, when the whole regiment in the limits
         notied to whereof he resides is ordered to march, such delinquent shall be dealt
         do so.        with in the manner following viz. The commanding officer of every
                       company in the enrolled militia shall and is he hereby strictly enjoined
                       and required, within six days next after the return of the regiment or
                       any detachment thereof from a tour of duty, to make and transmit to
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        the commanding officer of the regiment a return, containing the names
        of every person who had rendezvoused and marched out at the time
        and place directed by the order, and also of all such persons, if any, who
        did not rendezvous at the said time and place, including the names of
        the associate exempts residing within the limits or beat of the com-
        pany, if the order was for the whole regiment and associate exempts to
        march; and shall also therewith transmit the names of the officers and
        non-commissioned officers by whom each delinquent was notified to
        march, if such notice was given, the day on which they were ordered to
        rendezvous, and the day when discharged from the service for which
         the regiment, company or detachment was ordered out, and- shall certify
        such return to be true and impartial according to the best of his knowl-
        edge and belief -That the commanding officer of every shall and he is
         hereby required and strictly enjoined, within twenty days next after the
         return of the regiment or detachment from every such duty in the field, by
         regimental orders to appoint a day not less than five nor more then ten
         from the date of the order, for as many times three officers to convene
         (at a place within the limits of the regiment, to be specified in such
         order) as there are tens in the number of delinquents returned to him;
         which officers shall be named by the said commanding officer of the
         regiment, and be composed of officers from the enrolled militia and from
         the associate exempts, if there are such officers of associate exempts
         within the limits of the regiment; and in case there are not more than nine
         delinquents, then the commanding officer shall appoint one court martial
         to consist of not more than five commissioned officers nor less than three;
         and being more than nine and less than twenty, he shall then appoint two
         such courts martial, at which time and place the adjutant of the regiment
         shall attend, and the name of each officer convened being written on a
         piece of paper, the whole shall be put into a hatt, and the adjutant shall
         in the presence of the officers draw them out, and enter them on a sheet
         of paper in the order in which they shall be drawn -That the three first
         drawn shall compose one court martial, three next shall compose another
         court martial, and so on by threes to the number convened.
             Provided always if there shall be more than seventy delinquents Proviso as
         returned, there shall be as many officers ordered to convene as will con- to   number
                                                                                     of dolin-
         stitute seven such courts martial, and the limits of the regiment shall be qentsand
         divided in manner aforesaid into as many parts as there shall be courts martial.
         formed out of the officers which shall actually convene. That where
         within the limits of any regiment there are not a sufficient number of
         officers to constitute so many courts as by this proviso are required, as
         many officers shall be ordered to convene as will constitute the greatest
         number of such courts the regiment is capable of, and the limits of the
         regiment shall accordingly be divided into parts equal to the number of
         such courts -Thac the senior officer of each three shall be president of
         the court, that the presidents shall then divide the limits of the regi-
         ment into districts by limits or beats of companies, in each of which a
         court martial shall convene for the trial of all the delinquents therein,
         and shall determine by ballot in what district each court martial shall
         sit -That the president of each court shall then immediately in writing Preldent
         signify to the adjutant of the regiment in what district the court of of     to cort
                                                                                         notify
         which he is president is to convene, and on what day, provided such day adjutant,
          shall not be less than five days after, and exclusive of the day on which eto.
          such notice is given -That the adjutant shall thereupon transmit such
         notice to the commanding officer of each company in such district, who
          is hereby required, to order notice to be given to every delinquent by
         him returned, and to every officer and non-commissioned officer by whom
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                      any delinquent was notified to rendezvous and march as aforesaid, to,
                      attend the court martial in the district to which it belongs, to take trial
                      or give evidence-And all persons returned as delinquents, who may by
                      sickness or necessary absence out of the district be prevented from
                      attending, may send a person to state his case to the court martial, which
                      court shall try every person returned as delinquent, whether such person
         onieersto of attends or not -That when the officers are so convened as aforesaid,
         court
         tao oat,. and before they seperate, the adjutant, shall and he is hereby authorized
                      and empowered to administer the following oath, to each of the officers
                      composing a court martial.
         rori of.    You          do solemnly and sincerely swear, that you will well and
                      truly try and true presentment make according to evidence whether any
                      of the persons triable by the court of which you are (president or mem-
                      ber) are delinquent or not. If you find any not delinquent because not
                      duly notified, you shall so say: If you find any.not delinquent by reason
                      of sickness, or such other reasonable cause or impediment as you shall
                      deem good and sufficient, you shall so say. If you find any not delin-
                      quent because the person or persons charged with delinquency did
                      actually rendezvous and march and did not desert, you shall so say: If
                      you find that any person or persons being duly notified did not rendez-
                      vous or rendezvousing did refuse or neglect to march, you shall so say:
                      If you find that any person did not rendezvous and march at the time
                      and place appointed, and was sick, or had other reasonable cause or
                      impediment as aforesaid for not rendezvousing and marching, being
                      duly notified, you shall enquire how long such sickness, reasonable
                      cause or impediment existed, and whether such person did afterwards
                      march, and when, and whether he deserted or not, and shall so say.-
                      So help you God.
         Power to        That every such court may send for such witnesses as they may deem
         send for
         witnesses necessary on any trial-That the president of each court shall subscribe
         sentences, the sentence or sentences given by such court-That the president shall
          t.         transmit a duplicate of the sentence or sentences so subscribed as afore-
                      said, to the commanding officer of the regiment within five days next
                     after all the delinquents shall be tried, and the sentences given-That
                     every person convicted by the said courts martial or any of them, of not
                     rendezvousing being duly notified, or if rendezvousing, of neglecting, or
                     refusing to march, or of not marching after any sickness, reasonable cause
                     or other impediment (which might have prevented his rendezvousing and
                     marching as by the order he was to have done) had subsided, or of hav-
                     ing deserted after having marched, not having before been punished for
         Fine.       the same desertion; each and every such person (not a deserter) shall
                     be fined in the sum of forty shillings for every day of the first three
                     days, and the sum of eight shillings for every day after, and which shall
                     have intervened from the third day after the day on which the regiment
                     or detachment was ordered to rendezvous, to the day on which the same
                     was discharged, and for so many days more as would have intervened
                     between the day of discharge and return to their respective limits or
                     beats, computing at the rate of twenty miles for every day, from the place
                     where discharged to the residence of the commanding officer of the
                     regiment; or if the offender shall have deserted, the like fines to be im-
         How levied posed from the time of such desertion; all which fines shall be levied by
         "nIdcolleo- distress and sale of the offenders goods and chattles by warrants under
                     the hand of the commanding officer of the regiment, directed to
                                                                                         one of
                     the serjeants of the company or beat to which such offender does belong,
                     or in which such offender resides, together with the costs and charges
                     of such distress as is usual in civil actions on warrants by a justice ot
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          the peace, and for want of such goods and chattles the offender and
          offenders shall be committed to the common gaol of the county; ,and if
          there ilhall not be a common gaol in the county, then to the gaol in an
          adjoining county, and the keeper of such gaol is hereby rbquired to re-
          ceive such offender or offenders, and him or them to keep in close gaol
          agreable to such warrant, there to remain as many days as there are
          shillings in the fine imposed on him, unless he shall sooner discharge
          said fine.-That every officer and non-commissioned officer who shall Offcera  mybe
          neglect or refuse the duties enjoined him by this clause, shall be tried by caahiered.
          a brigade court martial, and being convicted shall and may be cashiered
          and fined, or cashiered only, or fined only in the discretion of the court-
          martial.
             XLVI. That it shall and may be lawfull to and for the commanding Officers
          officer of the regiment to pay out of any monies arising by the fines to serrts teen
          be inflicted by virtue of this clause, to each of the officers serving on bovaidout
          tile courts martial and to the adjutant at the rate of six shillings per Of nes.
          day, for every day such officers and adjutant have been bona fide em-
          ploycd in discharge of the duty required of them by this clause.- That Witnesses'
          every witness attending any court martial to be instituted by virtue of fees.
          this act, or who shall be sent for by such court as necessary to convict
          an offender, shall be allowed at the rate of three shillings per day if
          such witness should reside more than one mile from the place where
          such court shall be convened for every day's attendance, untill dismissed
          by the court, and the certicates of the presidents of any such court's
          martial, shall be sufficient vouchers to the commanding officer of the
          regiment to pay the witnesses, which he is hereby required to do out of
          the fines arising by virtue of this act.- That the residue of such fines Itesidue of
          arising from delinquency for not rendezvousing and marching when fines           tobe"
                                                                                      divided
          ordered by detachment, shall by the commanding officers of regiments, among
          and the commanding officers of companies be divided amongst the en- ctu vho
          rolled non-commissioned officers and privates of such detachment who did march.
          actually march, and according to the time they respectively served on
          such detachment, and be paid by the said commanding officer of the
          regiment to the commanding of officer of the company who shall pay
          the same to the persons entitled thereto; and that the residue of such
          fines arising from delinquencies for not rendezvousing and marching
          when the whole regiment and the associate exempts are called out, shall
          be divided and paid in like manner amongst the non-commissioned
          officers and privates of the regiment and of the associate exempts within
          the limits thereof, who did actually march, and in proportion to the
          times they respectively served on such duty - That in case of the death, Duties of
          sickness or absence of the adjutant the duty enjoined him by this clause adjutant,
          shall and may be executed by any person thereunto appointed in writ- executedincase of
          ing, signed by ti r: commanding officer of the regiment; and in case of Illness,
          the death, sickr,Lss or other inability of the president or members of any etc.
          of the said courts, the commanding officer of the regiment shall appoint
          a substitute out of the other commissioned officers of the regiment.-
             And w7hereas many persons in the enrolled. militia of this State have
          heretofore neglected or refused to march when called out on detach-
          ment, or with the regiments to which they respectively belong and have
          not been tried for the same, on account whereof great uneasiness pre-
          vails
             XLVII. Be it further enacted by the authority aforesaid, That all per- Persons
          sons who have since the eleventh day of March one thousand seven nogmcrih
          hundred and eighty, neglected or refused to march having been duly tobe tried,
          notified, and who have not been tried for such offence, shall and may be etc.
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                    reported to the commanding officers of the regiments respectively
                    within this State, and be tried by a court, or courts martial, to be insti-
                    tuted agreeable to the manner directed in the next preceeding clause of
                    this act, and shall be punished or fined, and the fines recovered in like
                    manner as they were punishable and finable, and the fines recoverable
                    by "An act for regulating the militia of this State of New-York," passed
                    March eleventh one thousand seven hundred and eighty, as if the same
                    was now in full force; and the commanding officer of every regiment,
                    and the commanding officer of every company and corps of associate
                    exempts are hereby strictly enjoined and required to do what by the
                    said clause they are enjoined to do to bring such delinquents to trial and
                    punishment as though such delinquents had offended after the passing
                    of this act. That the residue of all such fines, after the president and
                    members of the court martial, the adjutant and witnesses shall have
                    been paid, as by the next preceeding clause of this act is directed, shall
                    be disposed of as in and by the said act passed the eleventh day of
                    March one thousand seven hundred and eighty is directed.
        Trials to     XLVIII. And be it further enacted by the authority aforesaid That all
         pleed.     and every court martial within this State instituted for the trial of
                    offenders, and which has actually began to try an offender, shall and may
                    complete such trial and carry the same into effect as far as it is incum.
                   bent on the said court to do, and the commander in chief and the
                   brigadiers general shall and may proceed to carry into execution the
                   sentence of any court martial if approved, in as ample and full a man-
                   ner as if the said act passed the eleventh day of March one thousand
                   seven hundred aed eighty, was in full force. That in case of distresses
                   for levying any fine imposed by this act, the arms ammunition and
                   accoutrements of the convicted delinquent shall not be taken, aI.y thing
                   in this act to the contrary notwithstanding.
        When
        to takeact    XLIX.
                        "      And be it further enacted by the authority aforesaid That this
        effect.    act shall not take effect until the first day of June next and that
                   the said act entitled "An act for regulating the militia of the State of
                   New York," passed the eleventh day of March one thousand seven
                   hundred and eighty be and is hereby revived and shall be in full force
                   until the said first day of June next, and no longer.



                                             CHAP., 28.
                    AN ACT to liquidate the depreciation of the pay of the officers
                     of the military hospital and medical departmenti and of the
                     officers and privates of the levies and militia of this State made
                     prisoners by the enemy.
                                                                PASSED the 6th of April, 1782.
        Preamble.    WHEREAS congress did by their act of the thirteenth day of June
                  one thousand seven hunderd and eighty one recommend to the several
                  States in the words following, to wit.
        Resolution Resolved That it be and it is hereby recommended to the several
        of con-   States to which the officers of the hospital and medicpl department
        gress re-
        cited,    now in service respectively belong or of which they were inhabitants
                  to settle the accounts of the said officers for depreciation on the princi-
                  ples established by a resolution of congress of the tenth of April,
                  one thousand seven hundred and eighty and to make provision for
